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 6   Attorney for Defendant
     LISA REYNOLDS
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 8
 9                     IN THE UNITED STATES DISTRICT COURT
10                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,       )   No. Cr. S. 04-410-LKK
                                     )
14                  Plaintiff,       )   ORDER RE:
                                     )
15        v.                         )   UNOPPOSED
                                     )   MOTION TO TERMINATE SUPERVISED
16   LISA REYNOLDS,                  )   RELEASE UNDER 18 U.S.C.
                                     )   § 3583(E)(1)
17                  Defendant.       )
                                     )   Judge: Hon. Lawrence K. Karlton
18   _______________________________ )
19
20        Defendant, LISA REYNOLDS, hereby moves the Court to terminate her
21   term of supervised release pursuant to 18 U.S.C. § 3583(e)(1).
22   Supervised release began on April 22, 2005.     The government and the
23   probation office do not oppose this motion.
24        Title 18, section 3583(e)(1) of the United States Code permits the
25   Court to terminate a defendant's term of supervised release at any time
26   after the expiration of one year of supervision if the Court is
27   "satisfied that such action is warranted by the conduct of the
28   defendant released and the interest of justice."    Ms. Reynolds has
 1   completed over 18 months of supervised release.
 2        Ms. Reynolds' current probation officer, Ann Treis of the Central
 3   District of California, has indicated that Ms. Reynolds has completed
 4   all of the special conditions of her supervised release.   Ms. Treis has
 5   told counsel for the defendant that she does not oppose early
 6   termination.   Likewise, defense counsel has spoken with Probation
 7   Officer Cynthia Mazzei of this district and provided her a draft of
 8   this motion.   Ms. Mazzei supervised Ms. Reynolds until she moved to
 9   Central California to pursue a graduate degree.    Ms. Mazzei does not
10   oppose this motion.   Defense counsel has provided Assistant United
11   States Attorney Robert Tice-Raskin with a draft of this motion.     He has
12   indicated that he does not object to the motion.
13        Ms. Reynolds has completed all the terms of supervision, including
14   a period of home confinement, and payment of restitution and special
15   assessment.    During her term of supervision, Ms. Reynolds has made
16   substantial progress towards obtaining her masters degree in Marital
17   and Family Therapy.   As the attached transcript shows, she has
18   completed the first two trimesters with straight A’s.   (Exh. A.)
19        Currently, Ms. Reynolds works on an unpaid basis at Outreach
20   Concern (www.outreachconcern.org), which provides in-school counseling
21   for disadvantaged children.   She works in Westminster, California twice
22   a week providing counseling to elementary school students.   Ms.
23   Reynolds has notified both her graduate program and the counseling
24   program about her felony conviction.
25        The Court may remember that Ms. Reynolds comes from a tragic
26   family background and has made impressive strides in overcoming her
27   history.   Other than the current case, Ms. Reynolds has no other
28   criminal history.   Ms. Reynolds loves her job counseling students from


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 1   backgrounds similar to her own and hopes to continue working with kids
 2   as a licensed psychologist.
 3        Ms. Reynolds expects to graduate this summer with her Masters in
 4   Arts in Marital and Family Therapy.       She will then apply to the State
 5   of California for a license as an intern with the Board of Behavioral
 6   Science and the Board of Psychology.      She cannot be eligible for such a
 7   license while on supervised release.      This intern license is a
 8   necessary precondition for training to become a fully-licensed Marriage
 9   and Family Therapist.    While she pursues her license, Ms. Reynolds also
10   plans on continuing her schooling and obtaining a Doctorate in
11   Psychology.
12        Given Ms. Reynolds' employment and education status and her
13   completion of all terms of her sentence, the defense moves the Court to
14   terminate the term of supervised release.      No hearing on this matter is
15   required.
16
17                                         Respectfully submitted,
18                                         DANIEL J. BRODERICK
                                           Federal Defender
19
     DATED:   January 8, 2007              /s/Rachelle Barbour
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                                           ________________________________
21                                         RACHELLE BARBOUR
                                           Assistant Federal Defender
22                                         Attorney for Defendant
                                           LISA REYNOLDS
23
                                      O R D E R
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          IT IS HEREBY ORDERED that Lisa Reynolds' term of supervised
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     release be terminated as of the date of this Order.
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27   Dated: January 9, 2007
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